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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


JUSTIN E. FAIRFAX,

                      Plaintiff,

               v.
                                                        Case No. 1:19-cv-01176-AJT-MSN
CBS CORPORATION and CBS
BROADCASTING INC.,

                      Defendants.



         AMENDED RULE 7.1 CORPORATE DISCLOSURE STATEMENT BY
        DEFENDANTS CBS CORPORATION AND CBS BROADCASTING INC.

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Civil Rule 7.1, and to enable

judges and magistrate judges to evaluate possible disqualification or recusal, the undersigned

counsel for Defendants CBS Corporation and CBS Broadcasting Inc. declare the following:

       1.      CBS Broadcasting Inc. is a wholly owned, indirect subsidiary of CBS

Corporation.

       2.      CBS Corporation is now known as ViacomCBS Inc., following the merger of

Viacom Inc. with and into CBS Corporation on December 4, 2019, with CBS Corporation

continuing as the surviving corporation, which has been renamed “ViacomCBS Inc.”

ViacomCBS is a publicly traded company. National Amusements, Inc., a privately held

company, beneficially owns the majority of the Class A voting stock of ViacomCBS.

ViacomCBS is not aware of any publicly held corporation owning 10% or more of its total

common stock, i.e., Class A and Class B on a combined basis.
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      Dated: December 30, 2019

                                          _ /s/ Matthew E. Kelley
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                                          and CBS Broadcasting Inc.




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 30th day of December, 2019, I caused a copy of the

foregoing to be filed electronically with the Clerk of Court using the CM/ECF system, which

will then send a notification of such filing to all interested parties.




                                                     _/s/ Matthew E. Kelley
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